47 F.3d 1165
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Kelvin RIDDICK, a/k/a Tank, Defendant--Appellant,v.UNITED STATES of America, Defendant--Appellee.
    No. 94-6913.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 19, 1995.Decided Feb. 14, 1995.
    
      Kelvin Riddick, Appellant Pro Se.  Laura Marie Everhart, Assistant United States Attorney, Norfolk, VA, for Appellee.
      Before WILKINS and MICHAEL, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion and motion to reconsider.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Riddick, Nos.  CR-92-9-N;  CA94-342 (E.D. Va.  June 13 &amp; July 12, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    